               Case 21-18842-LMI      Doc 39   Filed 01/25/22     Page 1 of 1



                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION
                               www.flsb.uscourts.gov

In re:                                                 CASE NO: 21-18842 BKC LMI
ILIET BERBIL                                           CHAPTER 13
XXX-XX-6076
           Debtor                 /

                    OBJECTION TO CLAIM ON SHORTENED NOTICE

           IMPORTANT NOTICE TO CREDITOR: THIS IS AN OBJECTION
                             TO YOUR CLAIM

        This objection seeks either to disallow or reduce the amount or change the
 priority status of the claim filed by you or on your behalf. Please read this objection
 carefully to identify which claim is objected to and what disposition of your claim is
 recommended. Upon the filing of this objection an expedited hearing on this
 objection will be scheduled on the date already scheduled for the confirmation
 hearing in accordance with Local Rule 3007-1(B)(2).

       Pursuant to Bankruptcy Rule 3007 and Local Rule 3007-1(B)(2), the debtor object to
       the following claim filed in this case:
        PROOF OF CLAIM #9 OF TRUIST BANK , AS THE CREDITOR DID NOT RECORD A
       JUDGMENT LIEN CERTIFICATE WITH THE STATE OF FLORIDA’S DEPARTMENT OF
      STATE, THE ORIGINAL AGREEMENT WAS NOT A SECURITY AGREEMENT, AND THE
      CREDITOR CAN NOT HAVE A LIEN ON THE DEBTOR’S HOMESTEAD PROPERTY, AND
        THEREFORE THE DEBTOR SEEKS TO RECLASSIFY THE CLAIM TO BE WHOLLY
                                    UNSECURED.

 The undersigned acknowledges that this objection and the notice of hearing for this
 objection will be served on the claimant and the debtor at least 14 days prior to the
 confirmation hearing date and that a certificate of service conforming to Local Rule 2002-
 1(F) must be filed with the court when the objection and notice of hearing are served.



DATED: 01/25/2022                         The Law Offices of Christian Paul Larriviere, P.A.
                                          Counsel for the Debtor
                                          4340 Sheridan Street, Suite 102
                                          Hollywood, Florida 33021
                                          P: (954) 239-7150
                                          F: (954) 874-6110
                                          E: Christian@cpllaw.com
                                          By: ____/s___________________________
                                          Christian Paul Larriviere, Esq.
                                          Florida Bar No: 571156
